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                     12 Thomas A. Seaman
                     13                           UNITED STATES DISTRICT COURT
                     14                         CENTRAL DISTRICT OF CALIFORNIA
                     15                                  WESTERN DIVISION
                     16 SECURITIES AND EXCHANGE                  Case No. 2:15-cv-07425 RGK PLA
                        COMMISSION,
                     17                                          ELEVENTH INTERIM
                                   Plaintiff,                    APPLICATION OF ALLEN
                     18                                          MATKINS LECK GAMBLE
                             v.                                  MALLORY & NATSIS, LLP,
                     19                                          GENERAL COUNSEL TO THE
                        STEVE CHEN, USFIA, INC.,                 RECEIVER FOR PAYMENT OF
                     20 ALLIANCE FINANCIAL                       FEES AND REIMBURSEMENT OF
                        GROUP, INC., AMAUCTION, INC.,            EXPENSES
                     21 ABORELL MGMT I, LLC, ABORELL
                                                                 Date:    September 24, 2018
                     22 ADVISORS I, LLC, ABORELL                 Time:    9:00 a.m.
                        REIT II, LLC, AHOME REAL                 Ctrm.:   850
                     23 ESTATE, LLC, ALLIANCE                    Judge:   Hon. R. Gary Klausner
                        NGN, INC., APOLLO REIT I, INC.,
                     24 APOLLO REIT II, LLC, AMKEY, INC.,
                     25 US CHINA CONSULTATION
                        ASSOCIATION, and QUAIL RANCH
                     26 GOLF COURSE, LLC,
                     27                    Defendants.
                     28
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                      1               Allen Matkins Leck Gamble Mallory & Natsis LLP ("Allen Matkins"),
                      2 general counsel to Thomas A. Seaman ("Receiver"), the Court-appointed permanent
                      3 receiver for Defendants USFIA, Inc., Alliance Financial Group, Inc.,
                      4 Amauction, Inc., Aborell Mgmt I, LLC, Aborell Advisors I, LLC, Aborell
                      5 REIT II, LLC, Ahome Real Estate, LLC, Alliance NGN, Inc., Apollo REIT I, Inc.,
                      6 Apollo REIT II, LLC, Amkey, Inc., US China Consultation Association, Quail
                      7 Ranch Golf Course, LLC, and their subsidiaries and affiliates (collectively,
                      8 "Receivership Entities"), hereby submits this eleventh interim application for
                      9 approval and payment of fees and reimbursement of expenses ("Application"). This
                     10 Application covers the period from April 1, 2018, through June 30, 2018 ("Eleventh
                     11 Application Period"), and seeks interim approval of $75,174.75 in fees and $713.69
                     12 in expenses, and an order authorizing the Receiver to pay, on an interim basis, 80%
                     13 of fees incurred ($60,139.80) and 100% of expenses incurred.
                     14                                     I.    INTRODUCTION
                     15               This receivership involves a complex and wide ranging group of enterprises
                     16 and assets which appear to have been funded with the fruits of the fundraising
                     17 scheme at the heart of the action filed by the Securities and Exchange Commission
                     18 ("Commission"). The Receiver was appointed on a temporary basis on
                     19 September 29, 2015, and on a permanent basis on October 6, 2015.
                     20               The appointment orders confer broad duties, responsibilities, and powers on
                     21 the Receiver that are designed to allow him to secure, preserve, and protect the
                     22 assets of the Receivership Entities, investigate and recover sums transferred to third
                     23 parties, conduct a forensic accounting and analysis of the Receivership Entities'
                     24 financial transactions, review and analyze investor claims, and maximize the amount
                     25 ultimately available for distribution to investors. The appointment orders also
                     26 authorize the Receiver to engage counsel to assist him in the performance of his
                     27 duties. The Receiver promptly determined that experienced, qualified counsel was
                     28 critical due to the size and complexity of the receivership estate. Accordingly, the
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                      1 Receiver engaged Allen Matkins to assist with urgent legal issues facing the
                      2 receivership estate and the firm immediately began work.
                      3               This fee application should be read in conjunction with the Receiver's Twelfth
                      4 Interim Report and Recommendations ("Twelfth Report") filed concurrently with
                      5 this application, which describes in detail the Receiver's activities during the
                      6 Eleventh Application Period. Dkt. No. 331. So as to avoid repetition, references are
                      7 made to relevant portions of the Receiver's previous interim reports, including the
                      8 Twelfth Report, in the below descriptions of Allen Matkins' work.
                      9               This Application seeks interim approval of $75,174.75 in fees for a total of
                     10 127.30 hours worked, and payment on an interim basis of 80% of that amount, or
                     11 $60,139.80. The work performed is described task-by-task in Exhibit A and is
                     12 broken down into the following categories:
                     13                                    Matter                  Hours          Amount
                     14                    General Receivership                      8.70         $5,354.10
                                           Asset Investigation & Recovery           13.80          9,788.85
                     15
                                           Reporting                                 5.20          3,108.60
                     16                    Sale of Assets/Disposition               10.80          6,126.75
                     17                    Claims                                   45.20         29,234.25
                     18                    Third Party Claims                       41.00         20,169.90
                                           Employment & Professional Services        2.60          1,392.30
                     19                    TOTAL                                   127.30        $75,174.75
                     20
                     21               Allen Matkins has worked diligently and efficiently to assist the Receiver
                     22 with urgent and ongoing legal issues and tasks facing the receivership estate. The
                     23 firm's work has allowed the Receiver to preserve and protect the substantial value of
                     24 receivership estate assets and to monetize the recovered non-cash assets, including,
                     25 but not limited to, approximately $49.9 million in cash, an office building,
                     26 residential properties, automobiles, jewelry, and various other items of personal
                     27 property. Accordingly, Allen Matkins should be compensated on an interim basis
                     28 for its work.
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                      1          II.        SUMMARY OF TASKS PERFORMED AND COSTS INCURRED
                      2                A.    Categories and Descriptions of Work
                      3                      1.    General Receivership
                      4                Allen Matkins' work in this category focused on assisting the Receiver in
                      5 responding to a subpoena issued by the United States Attorney's Office demanding
                      6 the production of documents. The reasonable and necessary fees for work in this
                      7 category total $5,354.10.
                      8                      2.    Asset Investigation and Recovery
                      9                Allen Matkins' work in this category focused on assisting the Receiver in
                     10 investigating and recovering real properties held by Steamfont, LLC, including
                     11 analyzing the title and ownership of the properties and assisting in preparing letters
                     12 demanding turnover of the properties. As described in the Twelfth Report, these
                     13 real property assets were, in some cases, transferred to third parties. Allen Matkins
                     14 has, among other things, analyzed title histories and legal issues related to the
                     15 recovery of these valuable real property assets and advised the Receiver concerning
                     16 the approach to recovery. The reasonable and necessary fees for work in this
                     17 category total $9,788.85.
                     18                      3.    Reporting
                     19                Allen Matkins' work in this category focused on preparing the Receiver's
                     20 Eleventh Report. Dkt. No. 311. The Eleventh Report, filed on May 31, 2018,
                     21 provided a summary of the Receiver's activities, including actions to implement the
                     22 TRO and PI Order, efforts to recover receivership assets, documents and records,
                     23 and his initial assessment of the Receivership Entities' operations. The Eleventh
                     24 Report also provided a summary of the real and personal property assets of the
                     25 Receivership Entities, affiliated entities, based on the Receiver's preliminary
                     26 investigation. Finally, the Eleventh Report provided an accounting of receipts and
                     27 disbursements, as well as the Receiver's recommendations for proceeding with the
                     28
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                      1 receivership. The reasonable and necessary fees for work in this category total
                      2 $3,108.60.
                      3                       4.     Sale of Assets/Disposition
                      4               With judgments having been entered against Mr. Chen and the Defendant
                      5 entities, the Receiver focused his efforts on selling real and personal property
                      6 included in the receivership estate. During the Eleventh Application Period, Allen
                      7 Matkins assisted with the following asset marketing and sales:
                      8                Deodar Lane Property – Allen Matkins assisted in preparing a motion for
                      9                    approval of the sale, which was filed on June 12, 2018. Dkt. No. 312.
                     10                    After an overbid was received, the firm assisted in preparing a notice of
                     11                    the same to the Court. Dkt. No. 316. An auction was then held on
                     12                    July 16, 2018, after which Allen Matkins assisted in preparing a notice of
                     13                    the results of the auction and an amended proposed order approving the
                     14                    sale to the highest bidder. Dkt. No. 321. The Court approved the sale on
                     15                    July 24, 2018. Dkt. No. 323.
                     16                Arcadia Office Building – Allen Matkins advised the Receiver regarding
                     17                    title issues, the marketing and sale process, and assisted in obtaining lien
                     18                    releases for this 18,000 square foot, two-story office building.
                     19               The reasonable and necessary fees for work in this category total $6,126.75.
                     20                       5.     Claims
                     21               During the Eleventh Application Period, Allen Matkins assisted and advised
                     22 the Receiver regarding implementing the procedures for the administration of
                     23 claims, which were approved by the Court on March 7, 2018. Dkt. No. 307. The
                     24 firm assisted the Receiver in preparing notices and claim forms, answers to
                     25 frequently asked questions, and notices for publication. The firm also assisted in
                     26 responding to investor inquiries and addressing disputed claims. Additional work
                     27 was required to analyze the issues related to investor notice and communications in
                     28 light of the complex and geographically diverse investor base. As part of this work,
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                      1 Allen Matkins advised the Receiver concerning notice issues and worked with the
                      2 Receiver to expand the work of the third party claims processors, Epiq and BRG.
                      3               Allen Matkins' work also focused on claims asserted by Li Zhao (aka Jennifer
                      4 Zhao) to funds that were frozen in accounts under the name Ally Investors, LLC,
                      5 which the Court previously determined is an affiliate of the Receivership Entities.
                      6 Communications with counsel for Li Zhao did not resolve her claims or the
                      7 Receiver's claims against her for recovery of fraudulent transfers made to her. As
                      8 discussed below, this lead to the Receiver's motion seeking authority to pursue
                      9 claims against Li Zhao.
                     10               Finally, due to the relative low initial response rate from investors to the
                     11 claim notices, Allen Matkins assisted in preparing a motion to extend the deadline to
                     12 submit claims, which was filed on July 2, 2018. Dkt. No. 314. The motion was
                     13 granted on August 23, 2018. The reasonable and necessary fees for work in this
                     14 category total $29,234.25.
                     15                     6.     Third Party Claims
                     16               Time in this category relates to pursuing the Receiver's claims against Wei He
                     17 and her related entities, including participating in the Rule 26 conference of counsel,
                     18 preparing the Rule 26 Joint Report, preparing initial disclosures, and attending the
                     19 scheduling conference. Case No. 18-cv-00498-RGK-PLA.
                     20               Allen Matkins also analyzed potential claims against Li Zhao and prepared a
                     21 motion seeking authority to pursue such claims, which motion was filed on June 27,
                     22 2018, and granted on August 7, 2018. Dkt. Nos. 313, 325. The reasonable and
                     23 necessary fees for work in this category total $20,169.90.
                     24                     7.     Employment and Professional Services
                     25               Although fee applications are a necessary part of federal equity receiverships,
                     26 Allen Matkins does not charge to prepare its own detailed fee applications. In
                     27 addition to assisting the Receiver in preparing his Tenth Interim Fee Application,
                     28 the firm also assisted the Receiver's local counsel in the Dominican Republic with
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                      1 its final fee applications. The fee applications were filed on July 17, 2018 and
                      2 granted on August 23, 2018. Dkt. Nos. 317-320, 338-330. The reasonable and
                      3 necessary fees for work in this category total $1,392.30.
                      4               B.        Summary of Expenses Requested for Reimbursement
                      5               Allen Matkins requests the Court approve reimbursement of $713.69 in out-
                      6 of-pocket costs. The itemization of such expenses is summarized below by
                      7 category.
                      8                                       Category                            Total
                      9                    Duplication/Postage/Facsimiles                            $36.60
                                           Messenger fees (court messenger/FedEx)                     54.09
                     10
                                           Transportation/Parking/Mileage                             16.00
                     11                    Court/Recorder Fees (including messenger fees             607.00
                                           associated with court filings)
                     12
                                           TOTAL                                                    $ 713.69
                     13
                     14                          III.   THE FEES AND COSTS ARE REASONABLE
                     15                                    AND SHOULD BE ALLOWED
                     16               "As a general rule, the expenses and fees of a receivership are a charge upon
                     17 the property administered." Gaskill v. Gordon, 27 F.3d 248, 251 (7th Cir. 1994).
                     18 These expenses include the fees and expenses of this Receiver and his professionals,
                     19 including Allen Matkins. Decisions regarding the timing and amount of an award of
                     20 fees and costs to the Receiver and his Professionals are committed to the sound
                     21 discretion of the Court. See SEC v. Elliot, 953 F.2d 1560, 1577 (11th Cir. 1992)
                     22 (rev'd in part on other grounds, 998 F.2d 922 (11th Cir. 1993)).
                     23               In allowing fees, a court should consider "the time, labor and skill required,
                     24 but not necessarily that actually expended, in the proper performance of the duties
                     25 imposed by the court upon the receiver[], the fair value of such time, labor and skill
                     26 measured by conservative business standards, the degree of activity, integrity and
                     27 dispatch with which the work is conducted and the result obtained." United States v.
                     28 Code Prods. Corp., 362 F. 2d 669, 673 (3d Cir. 1966) (internal quotation marks
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                      1 omitted). In practical terms, receiver and professional compensation thus ultimately
                      2 rests upon the result of an equitable, multi-factor balancing test involving the
                      3 "economy of administration, the burden that the estate may be able to bear, the
                      4 amount of time required, although not necessarily expended, and the overall value of
                      5 the services to the estate." In re Imperial 400 Nat'l, Inc., 432 F. 2d 232, 237 (3d Cir.
                      6 1970). Regardless of how this balancing test is formulated, no single factor is
                      7 determinative and "a reasonable fee is based [upon] all circumstances surrounding
                      8 the receivership." SEC v. W.L. Moody & Co., Bankers (Unincorporated), 374 F.
                      9 Supp. 465, 480 (S.D. Tex. 1974).
                     10               As a preliminary matter, the TRO and PI Order confer on the Receiver
                     11 substantial duties and powers, including to conduct such investigation and discovery
                     12 as is necessary to locate and account for all receivership assets, take such action as is
                     13 necessary and appropriate to assume control over and preserve receivership assets,
                     14 and employ attorneys and others to investigate and, where appropriate, institute,
                     15 pursue, and prosecute all claims and causes of action of whatever kind and nature.
                     16 See TRO, Part XI; PI Order, Part XI.
                     17               The Receiver promptly determined that experienced, qualified counsel was
                     18 necessary due to the size and complexity of the receivership estate and engaged
                     19 Allen Matkins pursuant to the authority granted to him in the TRO and PI Order.
                     20 Allen Matkins immediately began work and has worked diligently and efficiently to
                     21 assist the Receiver in carrying out his Court-ordered duties. The firm has submitted
                     22 a detailed fee application which describes the nature of the services rendered, and
                     23 the identity and billing rate of each individual performing each task. See Exhibit A.
                     24               Allen Matkins has endeavored to staff matters as efficiently as possible while
                     25 remaining cognizant of the complexity of issues presented. The request for fees is
                     26 based on Allen Matkins' customary billing rates charged for comparable services
                     27 provided in other matters, less a 10% discount. In addition, Allen Matkins did not
                     28 charge for 1.6 hours of work ($856.80) during the Eleventh Application Period.
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                      1               The work performed by Allen Matkins was essential to carrying out the
                      2 Receiver's Court-ordered duties. Allen Matkins has worked diligently to preserve
                      3 and protect the assets of the receivership estate, investigate and recover sums
                      4 transferred to third parties, and maximize the funds available for ultimate
                      5 distribution to investors. Moreover, Allen Matkins seeks payment of only 80% of
                      6 fees incurred on an interim basis in recognition of the fact that its work in assisting
                      7 the Receiver is ongoing. Payment of the proposed 20% holdback will be sought at
                      8 the conclusion of the receivership. Allen Matkins' fees are fair and reasonable and
                      9 should be approved and paid on an interim basis.
                     10                                       IV.    CONCLUSION
                     11               Allen Matkins, therefore, respectfully requests the Court enter an Order:
                     12               1.    Approving Allen Matkins' fees, on an interim basis, of $75,174.75;
                     13               2.    Authorizing and directing the Receiver to pay 80% of approved fees, or
                     14 $60,139.80, from the assets of the Receivership Entities;
                     15               3.    Approving Allen Matkins' costs in the amount of $713.69, and
                     16 authorizing and directing the Receiver to reimburse such costs in full; and
                     17               4.    For such other and further relief as the Court deems appropriate.
                     18
                     19 Dated: August 27, 2018                           ALLEN MATKINS LECK GAMBLE
                                                                          MALLORY & NATSIS LLP
                     20
                                                                         By:        /s/ Edward Fates
                     21                                                        EDWARD G. FATES
                                                                               Attorneys for Receiver
                     22                                                        THOMAS A. SEAMAN
                     23
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